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                 4                                UNITED STATES DISTRICT COURT
                 5                                        DISTRICT OF NEVADA
                 6                                                   ***
                 7    DENNIS TOBLER, et al.,                                Case No. 2:18-CV-2220 JCM (CWH)
                 8                                          Plaintiff(s),                      ORDER
                 9           v.
               10     SABLES, LLC, et al.,
               11                                         Defendant(s).
               12
               13            Presently before the court is Philip J. Trenchak’s motion to withdraw as counsel. (ECF
               14     No. 29). Trenchak avers that he was not retained to represent the plaintiffs, has not filed a single
               15     document, and has not made an appearance. (Id. at 3). Good cause appearing, Trenchak’s
               16     motion to withdraw is granted.
               17            Accordingly,
               18            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that Trenchak’s motion to
               19     withdraw as counsel (ECF No. 29) be, and the same hereby is, GRANTED.
               20            DATED September 25, 2020.
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               22                                                   UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
